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 7
 8                    IN THE UNITED STATES DISTRICT COURT

 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,     )
                                   ) CR S-03-371 MCE
12                    Plaintiff,   )
                                   ) STIPULATION AND ORDER
13                 v.              ) TO CONTINUE STATUS CONFERENCE/
                                   ) ENTRY OF PLEA
14   ERIC NEWBORN,                 )
                                   ) DATE: September 11, 2008
15                    Defendant.   ) TIME: 9:00 a.m.
     ______________________________) CTRM: Hon. Morrison C. England, Jr.
16

17        The United States of America, through its counsels of record,
18   McGregor W. Scott, United States Attorney for the Eastern District

19   of California, and William S. Wong, Assistant United States
20   Attorney, and Willliam Bonham, counsel for the defendant Eric

21   Newborn, stipulate and request that the Court continue the status
22   conference/entry of plea in this case from September 4, 2008, to

23   September 11, 2008, at 9:00 a.m.
24        Counsels for the government and the defendant are in good faith

25   negotiations to resolve the case.         Because the defendant is
26   currently serving a state sentence from Kern County, the parties

27   need additional time to verify the case number and the sentence
28   imposed in order to complete the negotiations for the plea

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 1   agreement.
 2        Based upon the foregoing, the parties agree that time under the

 3   Speedy Trial Act be excluded from September 4, 2008, through and
 4   including September 11, 2008, pursuant to 18 U.S.C. §

 5   3161(h)(8)(B)(iv) - reasonable time to prepare and Local Code T-4 -
 6   reasonable time for defense preparation.

 7                                               Respectfully submitted,
 8                                               McGREGOR W. SCOTT
                                                 United States Attorney
 9
10   DATED: September 3, 2008          By:       /s/ William S. Wong
                                                 WILLIAM S. WONG
11                                               Assistant U.S. Attorney
12

13   DATED: September 3, 2008          By:       /s/ William Bonham
                                                 WILLIAM BONHAM, Esq.
14                                               Attorney for Defendant

15
     ____________________________________________________________________
16
                                        ORDER
17
          IT IS SO ORDERED.     Good cause having been shown, the status
18
     conference/entry of plea set for September 4, 2008, is vacated and a
19
     new date is set for September 11, 2008, at 9:00 a.m.          Time is
20
     excluded from September 4, 2008, through and including, September
21
     11, 2008, for the foregoing reasons.
22

23   Dated: September 4, 2008

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                                        _____________________________
25                                      MORRISON C. ENGLAND, JR.
                                        UNITED STATES DISTRICT JUDGE
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